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 6                      IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
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 9   Western Watersheds Project,                        No. CV-17-592-TUC-JGZ
10                 Plaintiff,                           ORDER
11   v.
12   United States Department of Interior,
13                 Defendant.
14
15         Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,
16         IT IS HEREBY ORDERED that the parties’ Stipulation to Dismiss with Prejudice
17   (Doc. 32) is GRANTED.
18         The Clerk of Court is directed to close the file in this action.
19         Dated this 10th day of April, 2019.
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